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      EXHIBIT A
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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
                                                                         

    ROHAN RAMCHANDANI,
                                                          19 Civ. 9124 (VM)
                            Plaintiff,
                                                          DECISION AND ORDER
                     - against -

    CITIBANK NATIONAL ASSOCIATION,
    CITIGROUP INC., and CITICORP,

                            Defendants.


   VICTOR MARRERO, United States District Judge.

          Defendants     CitiBank    National      Association,    CitiGroup

   Inc., and Citicorp (together, “Citi” or “Defendants”) move

   for summary judgment in this action, arguing there is no

   genuine dispute as to any material fact related to the

   malicious     prosecution     claims      brought   by   plaintiff    Rohan

   Ramchandani      (“Ramchandani”)          and   that     dismissal,    with

   prejudice, of those claims is warranted. (See “Motion,” Dkt.

   No. 144; “Br.,” Dkt. Nos. 145, 149.) Ramchandani opposes

   Citi’s Motion. (See “Opp.,” Dkt. No. 158, 171.) And Citi

   subsequently filed a reply in support of its Motion. (See

   “Reply,” Dkt. Nos. 160, 163.)1



   1 The Court includes, where applicable, citations to both the public and

   sealed versions of the parties’ submissions. The Court previously granted
   the parties permission to file portions of their briefs, Local Rule 56.1
   Statements of Undisputed Facts, and their exhibits under seal due to the
   highly confidential information, including grand jury testimony from the
   underlying criminal prosecution of Ramchandani, contained within. (See,
   e.g., Dkt. Nos. 153, 157, 167.)



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          In prior proceedings, by a Decision and Order dated March

   11, 2021, the Court denied, based on the pre-motion letters

   filed, Citi’s motion to dismiss Ramchandani’s complaint,

   concluding that the allegations stated therein, if true,

   satisfied the elements of a malicious prosecution claim. See

   Ramchandani v. CitiBank Nat’l Ass’n, No. 19 Civ. 9124, 2021

   WL 930627 (S.D.N.Y. Mar. 11, 2021) (hereinafter, “Ramchandani

   I”). Now, with the benefit of discovery and a full record,

   and for the reasons stated below, the Court finds that summary

   judgment is appropriate. Therefore, Citi’s Motion is GRANTED,

   and the case is DISMISSED.

                                I.   BACKGROUND

          A.   FACTUAL BACKGROUND2

                1.   The Internal Investigations

          Rohan Ramchandani was a London-based foreign exchange

   spot market (“FX Spot Market”) trader for Citi, focusing on


                            
   2 Except as otherwise noted, the factual background derives from the
   undisputed facts as set forth by the parties in their respective Local
   Rule 56.1 Statement and Counterstatement of Undisputed Material Facts and
   the responses thereto, as well as the accompanying declarations and
   exhibits provided in support and the factual record submitted. These
   include Citi’s Statement of Undisputed Material Facts (“Citi 56.1 Stmt.,”
   Dkt. Nos. 146, 150); the Declaration of Marshall H. Fishman (“Fishman
   Decl.,” Dkt. Nos. 147, 151); Ramchandani’s Response to the Citi 56.1 Stmt.
   (“Ramchandani 56.1 Resp.,” Dkt. Nos. 158-3, 171-3); Ramchandani’s
   Counterstatement of Undisputed Material Facts (“Ramchandani 56.1 CS,”
   Dkt. Nos. 158-3, 171-3); the Declaration of Gary Greenberg (“Greenberg
   Decl.,” Dkt. Nos. 158-1, 171-1); Citi’s Reply Statement of Undisputed
   Material Facts (“Citi Reply 56.1 Stmt.,” Dkt. Nos. 161, 164); and the
   Supplemental Declaration of Marshall Fishman (“Fishman Suppl. Decl.,”
   Dkt. Nos. 162, 165). No further citations to these documents will be made
   herein except as specifically referenced. The Court construes any disputed
   facts discussed in this section and the justifiable inferences arising


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   the Euro/U.S. dollar (“EUR/USD”) currency pair until January

   2014. The FX Spot Market is a global, over the counter, market

   where participants trade currencies against one another in

   pairs. The EUR/USD currency pair is the largest market by

   trade volume, occasionally exceeding $500 billion per day. By

   2010, Citi promoted Ramchandani to the position of Managing

   Director, making him the Head of Citi’s G10 Spot FX Trading

   Desk in London.3

          Prior to 2014, FX Spot traders frequently participated

   in interbank chatrooms. In those chatrooms, typically hosted

   by Bloomberg LP (“Bloomberg”), traders discussed the FX Spot

   Market, and used the chats to provide color on the market and

   facilitate trading. Transcripts of these interbank chats are

   maintained and available for review by banks, including Citi,

   and, to the extent applicable, regulators.

          In   or   around       December   2007,   Ramchandani   joined    an

   interbank chatroom focused on only the EUR/USD FX market (the

   “EUR/USD     Chatroom”        or   the   “Chatroom”).   Eventually,     the




                             
   therefrom in the light most favorable to the non-moving party,
   Ramchandani, as required under the standard set forth below in Section
   II.
   3 Following this promotion, Citi designated Ramchandani as a “Code Staff”
   employee, which is a designation given to those “who have a significant
   impact on [a] firm’s risk profile” by the United Kingdom’s Financial
   Conduct Authority (“FCA”). (See Citi 56.1 Stmt. ¶ 5.)



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   Chatroom would come to comprise three other traders:4 Matthew

   Gardiner (“Gardiner”), a former FX trader at Union Bank of

   Switzerland       (“UBS”)       and    Barclays       PLC      (“Barclays”);

   Christopher      Ashton       (“Ashton”),     a   former      FX     trader    at

   Barclays; and Richard Usher (“Usher”), a former FX trader at

   JPMorgan Chase (“JPMorgan”) and The Royal Bank of Scotland

   (“RBS”). From time to time, the members of the Chatroom

   referred to themselves as the “Mafia,” the “Cartel,” and the

   “Bandit’s Club.” (See Citi 56.1 Stmt. ¶ 10.) Ramchandani was

   the only Citi employee in the Chatroom.

          In the Summer and Fall of 2013, chatrooms like the

   EUR/USD were scrutinized for potential antitrust violations

   by the United States Department of Justice Antitrust Division

   (“DOJ”), the United Kingdom’s Financial Conduct Authority,

   and the press. In June 2013, media outlets began reporting on

   alleged manipulation of FX rates (known as “fixes” or the

   “fix”) in various FX Spot Markets. Then in September 2013,

   UBS, which was, at the time, subject to a non-prosecution

   agreement, voluntarily self-reported to the DOJ conduct it

   had    discovered     through     an   internal      investigation.           That

   investigation       revealed      potential       collusion        between    UBS



                             
   4Initially, the Chatroom included Ramchandani, Gardiner, and Usher. Later
   on, and after internal discussion amongst the Chatroom’s founding members,
   Ashton entered the chat.



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   employees and several other banks regarding the FX Spot

   Market.

          Coinciding with UBS’s disclosure, Citi launched its own

   internal investigation into FX trading practices at the bank.

   As part of that investigation, in October 2013, Paul Ferguson

   (“Ferguson”),       a   Managing      Director    and    Senior       Litigation

   Counsel at Citi, and Citi’s outside counsel from Cleary

   Gottlieb Steen & Hamilton LLP (“Cleary”), jointly interviewed

   Ramchandani. The Chatroom was a topic of discussion at the

   interview. Ramchandani offered to explain the substance of

   the chat to Ferguson and Cleary, but they declined his offer.

   Instead,      Citi      would       approach     Jeff         Feig     (“Feig”),

   Ramchandani’s direct supervisor and Citi’s Global Head of FX,

   for help decoding the Chatroom’s messages. Feig then spent

   “hundreds”     of     hours    with    lawyers    from    Cleary       reviewing

   “thousands and thousands” of chatroom communications to help

   Citi and Cleary decode and interpret the meaning of the chats,

   including Ramchandani’s. (See Ramchandani 56.1 CS ¶ 10.)

          As a result of growing press scrutiny and Citi’s review

   of    the   Chatroom,        Citi     took   employment       action        against

   Ramchandani.      On    or    about    October   30,     2013,       Citi    placed

   Ramchandani      on     temporary       leave    due     to    press        reports

   connecting him to the currency manipulation allegation. Citi

   told Ramchandani that his leave would last only three weeks,


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   with full pay and benefits, but it was later extended while

   Citi continued its investigation. Then, on January 10, 2014,

   Citi terminated Ramchandani’s employment. The investigation

   into the Chatroom left Citi’s executives uncomfortable with

   Ramchandani’s        conduct.        Feig          would        later        describe

   Ramchandani’s      Chatroom       activities        as    “problematic,”        (see

   Fishman     Suppl.       Decl.,    Ex.       36,    60:14-61:17)         and    told

   Ramchandani, in an email, that “there was a rationale to

   dismiss you,” (see Greenberg Decl., Ex. YY at 1). James Forese

   (“Forese”), the Citi senior executive who, with Paco Ybarra,

   another     Citi    executive,      made       the       decision       to   dismiss

   Ramchandani,       had    serious    concerns            with    the     Chatroom’s

   contents. He cited Ramchandani’s sharing of confidential

   information with non-Citi traders, and Ramchandani’s apparent

   loyalty to the other members of the Chatroom over Citi as

   grounds for firing Ramchandani. Forese believed Ramchandani’s

   actions were a material violation of Citi’s internal code of

   conduct.

          Ramchandani’s dismissal became the subject of press

   reports. Following his termination, Citi’s public relations

   (“PR”) team had reached out, on background, to Bloomberg and

   other news outlets -- which had been generally reporting on

   the DOJ’s FX investigation -- to confirm that Ramchandani was

   no longer at Citi. This outreach was part of what Jeffrey


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   French (“French”), a Citi PR Executive, described initially

   as a “‘no fingerprints’ concept” he had been working on

   regarding press strategy. But that concept, apparently, never

   came to fruition. (See Greenberg Decl., Ex. W at 5.) French

   characterized the more open approach that Citi PR adopted as

   “[m]uch easier” because Citi would be “seen confirming that

   [it] took a proactive step.” (Id.)

          The PR strategy was fumbled. Citi had been approved only

   to confirm to news outlets that Ramchandani was “no longer

   with the firm.” (Id. Ex. X at 2.) The media, instead, took

   that confirmation out of context and reported that Citi had

   told    the   reporters      Citi   had   terminated   Ramchandani.    The

   reports       that    Citi    terminated      Ramchandani     left    Feig

   “apoplectic.” (Id.)

                 2.    The DOJ Investigation

          As alluded to above, UBS’s self-reporting sparked a

   wide-ranging DOJ investigation into the FX market. UBS’s

   report implicated Citi, among other banks, in the alleged

   collusive conduct. Also through UBS, the DOJ learned of the

   Chatroom and of Ramchandani’s involvement.

          The DOJ’s FX investigation spanned from 2013 to 2018,

   involved at least four other banks besides Citi and UBS, six

   to   seven    currency    pairs,     including   EUR/USD,   delved    into

   dozens of chatrooms other than the EUR/USD Chatroom, and


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   targeted      several        individual   FX    traders     other     than

   Ramchandani.

          Citi cooperated with the DOJ investigation. The DOJ

   initially contacted Citi in the Fall of 2013. Citi and the

   DOJ exchanged over 200 communications and met numerous times

   throughout the course of the investigation, several meetings

   of which are notable.

          In November 2014, Citi’s lawyers from Cleary met with

   the DOJ




                                                                       . (See

   Fishman Decl., Ex. 12.)




                                                                    (Id.   at

   GOV0008.) The DOJ’s notes concluded that


                            
   5   The DOJ’s notes indicate a


   (Fishman Decl., Ex. 12 at GOV0012.)



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                                                     (Id.   at   GOV0014.)




                                                                    , with

    whom Cleary had entered into a joint defense agreement,




            On or about March 9, 2015, Cleary again met with the

    DOJ. During that meeting, which was scheduled for the purpose

    of discussing Citi’s potential plea, the DOJ




                             .6 The DOJ’s notes of that meeting also

    reflected



                                              ” (Fishman Decl., Ex. 15 at

    GOV0064.)7 Carrie Syme (“Syme”), who would later play a major

    role in the prosecution of Ramchandani, wrote that

                              
    6   Citi also argued to the DOJ during this meeting

                                                            .
    7 An exact transcription of the preceding quote from the record is
                 (Fishman Decl., Ex. 15 at GOV0064.) The DOJ’s notes,
    handwritten by Carrie Syme, an Assistant U.S. Attorney assigned to the
    investigation, include
                                                  (See Fishman Decl., Ex. 3,
    51:21-23.)



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               (Fishman Decl., Ex. 18 at GOV0016.) The DOJ also

    expressed




                   (Id. at GOV0015.)

           In May 2015, the DOJ charged, and Citi pled guilty, via

    a   plea     agreement   (the   “Plea     Agreement”),    to    criminal

    antitrust violations under the Sherman Act. (See Fishman

    Decl., Ex. 19 (“Plea Agreement”).) Citi’s guilty plea was

    limited to only the conduct associated with the EUR/USD

    Chatroom and FX market. As noted above, Ramchandani was the

    only Citi employee who participated in the Chatroom. Thus,

    Citi had agreed to plead guilty to a corporate crime based on

    Ramchandani’s actions. The Plea Agreement stated that Citi

    “and   its    co-conspirators    entered    into   and   engaged   in      a

    combination     and   conspiracy     to   fix,   stabilize,     maintain

    increase or decrease the price of, and rig bids and offers

    for, the euro/U.S. dollar [] currency pair exchanged in the

    foreign currency exchange spot market . . . by agreeing to

    eliminate competition in the purchase and sale of the EUR/USD

    currency pair.” (Id. ¶¶ 2, 4.) UBS, Barclays, JPMorgan, and




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    RBS, each of which had an employee in the Chatroom, pled

    guilty to the same conduct as Citi.8

          The    Plea    Agreement      noted     Citi’s      cooperation   and

    assistance in identifying evidence related to the DOJ’s FX

    investigation.       Among   that     evidence,     the    Plea   Agreement

    described “other relevant conduct” that Citi helped identify

    “in addition to” the EUR/USD currency pair. (Id. ¶ 13.) Citi

    was required to cooperate with the DOJ regarding not only the

    EUR/USD pair, but also “any other currency pair, in the FX

    Spot Market, or any foreign exchange forward.” (Id. ¶ 14.) In

    exchange    for     Citi’s   guilty    plea    to   the    EUR/USD   market

    conspiracy and further cooperation, the DOJ immunized Citi of

    all other potential criminal liability flowing from its FX

    investigation.

          At sentencing, the DOJ’s memorandum reflected that each

    of the banks charged with antitrust violations derived from

    the Chatroom provided “valuable assistance by explaining how

    the FX Spot Market operates, and by defining and decoding

    certain jargon traders use when describing their action in

    the market, sometimes via a line-by-line review of chat

    transcripts.” (Citi 56.1 Stmt. ¶ 45.) Judge Underhill, in the

    District of Connecticut, who presided over the sentencing,

                             
    8 UBS pleaded guilty to a breach of its non-prosecution agreement based
    on the same conduct as the other banks. (See Citi 56.1 Stmt. ¶ 39.)



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    “urge[d]     the         government      to     consider    prosecution      of

    individuals”        involved        in    the    underlying      conduct     but

    recognized     that       this    was    “obviously   a    decision    for   the

    government to make.” (Greenberg Decl., Ex. SS, 26:12-27:15.)

    For Citi, that individual was Ramchandani, the sole Citi

    participant in the Chatroom. Citi paid a substantial fine in

    accord with its guilty plea.

                 3.        The Indictment of Ramchandani

            Ramchandani was indicted on January 10, 2017 by a grand

    jury sitting in the Southern District of New York. It indicted

    Ramchandani, Usher, and Ashton with one count of Conspiracy

    to Restrain Trade, a violation of 15 U.S.C. Section 1 (the

    “Indictment”). The Indictment charged Ramchandani, Usher, and

    Ashton     with     a     conspiracy       to   “suppress     and     eliminate

    competition for the purchase and sale of EUR/USD in the United

    States and elsewhere.” (Fishman Decl., Ex. 5 ¶ 18.) Ten

    prosecutors        in    the     DOJ’s   Antitrust    Division      signed   the

    Indictment, including Syme and Preet Bharara, who was then

    the United States Attorney for the Southern District of New

    York.

            In securing the Indictment, the DOJ presented its case

    against Ramchandani and the other traders in the Chatroom to

    the grand jury.




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                                                      (Fishman Decl., Ex.

    23 at ECF 60, 44:10-13.)




                   (Id. at ECF 63, 47:17-22.)




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                       At pre-trial hearings, Ramchandani’s counsel

    stated that it was Gardiner “who the government [] truly

    relied on in terms of bringing [its] case.” See United States

    v. Usher, No. 17 Cr. 19 (S.D.N.Y. Mar. 26, 2018), Dkt. No. 93

    (Hr’g Tr. 15:5-17). After Ramchandani failed to have the

    indictment dismissed, the Court set a schedule for trial.

                4.   The Trial of Ramchandani

          Ramchandani, Usher, and Ashton were tried for criminal

    antitrust violations before Southern District of New York

    Judge Richard Berman. The trial began October 10, 2018. It

    spanned approximately two weeks, and Gardiner was the DOJ’s

    star witness. He testified over the course of the trial,

                                       , that he, Ramchandani, and the

    other Chatroom members had an agreement to not trade to each

    other’s detriment, to share information openly and honestly,

    and to help each other make profits and avoid losses. Gardiner

    testified that the agreement was for the purpose of making

    “money out of the[] fix[es],” and that the Chatroom members

    coordinated their trading activities to do so. (Citi 56.1

    Stmt. ¶ 83 (citing Fishman Decl., Ex. 7, 546:16-19).) Gardiner


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    again decoded the Chatroom messages for the jury. And although

    Citi    witnesses   testified,     Ramchandani    testified     in   this

    matter that none of Citi’s witnesses decoded the Chatroom’s

    messages at trial.

           Gardiner’s testimony, and the DOJ’s reliance on it,

    failed to secure a conviction. Ramchandani’s expert at trial

    testified that the use of interbank chatrooms was commonplace

    and often used to share market information and market color

    efficiently. Ramchandani’s expert opined that the Chatroom

    members’ use was consistent with how bankers used chatrooms.

    The    defense   also   presented     evidence    that   the    Chatroom

    members’ trades did not impact the FX market.

           Ramchandani’s argument was persuasive. On October 26,

    2018, the jury acquitted Ramchandani, Usher, and Ashton of

    all charges.

           B.   PROCEDURAL HISTORY

           Ramchandani brought this action on October 2, 2019,

    alleging one count of malicious prosecution by Citi.9 The

    parties then engaged in an exchange of pre-motion letters,

    pursuant to this Court’s Individual Practices, regarding

    Citi’s proposed motion to dismiss the complaint. (See Dkt.

    Nos. 19-23.) The Court assessed the letters exchanged as a

                            
    9 Due to a filing error, Ramchandani’s complaint was refiled on October
    18, 2019. (See Dkt. No. 17.)



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    fully briefed motion to dismiss, and on the basis of those

    letters, denied Citi’s motion to dismiss.

           In Ramchandani I, the Court found that Ramchandani had

    adequately stated a claim for malicious prosecution. The

    Court focused on the allegations regarding Citi’s cooperation

    with   the   DOJ.    In   ruling   so,    the   Court   construed     the

    allegations in the light most favorable to Ramchandani and

    found that Citi had “identified and decoded” Ramchandani’s

    chats for the DOJ, and that there was a plausible inference

    that “Citi had motive and opportunity to do more than merely

    cooperate with the Government’s investigation, but rather to

    influence the outcome to serve its own interest in minimizing

    its role in the underlying financial scheme and shifting blame

    to another.” Ramchandani I, 2021 WL 930627, at *7. Although

    noting that it was a “close one” on the “thornier issue” of

    whether “Citi’s statements about Ramchandani to the DOJ were

    knowingly     false,”     the   Court    also   found    Ramchandani’s

    allegations sufficient. Id. This finding was based on the

    plausible inference that “Citi told the DOJ that Ramchandani

    had engaged in wrongdoing” despite the allegations that Citi

    had not drawn any conclusions as to Ramchandani’s conduct.

    Id. at *8. Thus, the Court concluded that “when Citi told the

    DOJ that Ramchandani had engaged in wrongdoing, it knew this

    information was false and so acted in order to serve its


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    interest in minimizing liability and public exposure.” Id.

    The   Court    also    found    the     other   prongs     of    a    malicious

    prosecution claim had been adequately pled.

            With its motion to dismiss denied, Citi filed its answer

    to the complaint and the action proceeded into the discovery

    phase.     During     the    discovery     phase,   the    parties       raised

    occasional     issues       about   the    underlying     criminal      action,

    including     the   release     and   protection     of    the       grand   jury

    transcript and associated materials and testimony from the

    DOJ. These disputes, along with others, were referred to the

    designated Magistrate Judge, Judge Aaron. Fact discovery was

    then extended from the original schedule through July 2022.

            Towards the end of the discovery period, and with some

    significance to the instant Motion, Ramchandani moved to

    compel disclosure of certain documents that Citi had withheld

    as privileged. (See Dkt. Nos. 93-95.) The documents covered

    three    topics:    (1)     memoranda     and   emails    regarding      Citi’s

    meetings with the DOJ, (2) internal communications between

    Citi’s counsel at Cleary and Citi’s internal PR personnel,

    and (3) documents concerning Ramchandani’s suspension and

    termination. Citi opposed the motion to compel. Magistrate

    Judge Aaron reviewed a subset of the documents in camera and

    held a hearing on the dispute.




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           Magistrate Judge Aaron found, generally, that Citi had

    properly withheld the documents. The memoranda of meetings

    with the DOJ were attorney work product prepared by Cleary in

    anticipation of litigation. See Ramchandani v. Citi Nat’l

    Ass’n., No. 19 Civ. 9124 (SDA), 2022 WL 2156225, at *6

    (S.D.N.Y. June 15, 2022). Because Ramchandani had access to

    the DOJ’s notes of the same meetings, as well as other

    evidence, he could not establish a need for the work product

    as he already had substantially equivalent information. Id.

    Magistrate Judge Aaron also held that the emails between

    Citi’s attorneys and the PR team were privileged. So, too,

    were   the   communications     between    Citi   and   its   attorneys

    regarding Ramchandani’s suspension and termination. Id. at

    *7-8. However, he found that portions of some documents were

    withheld improperly and ordered that they be partially or

    fully unredacted. Id.

           At the close of discovery, per the Court’s direction,

    Citi indicated its intent to move for summary judgment. After

    an exchange of letters on the anticipated motion, the Court

    directed the parties to propose a briefing schedule, which

    the Court adopted. That Motion is now fully briefed and ripe

    for resolution.




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                             II. LEGAL STANDARD

          In connection with a motion under Federal Rule of Civil

    Procedure 56, “[s]ummary judgment is proper if, viewing all

    the facts of the record in a light most favorable to the non-

    moving party, no genuine issue of material fact remains for

    adjudication.” Samuels v. Mockry, 77 F.3d 34, 35 (2d Cir.

    1996) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

    247-50 (1986)). The role of a court in ruling on such a motion

    “is not to resolve disputed issues of fact but to assess

    whether there are any factual issues to be tried, while

    resolving    ambiguities     and    drawing    reasonable    inferences

    against the moving party.” Knight v. U.S. Fire Ins. Co., 804

    F.2d 9, 11 (2d Cir. 1986).

          The moving party bears the burden of proving that no

    genuine issue of material fact exists or that, because of the

    paucity of evidence presented by the nonmovant, no rational

    jury could find in favor of the nonmoving party. See Gallo v.

    Prudential Residential Servs., L.P., 22 F.3d 1219, 1223–24

    (2d Cir. 1994). “[T]he mere existence of some alleged factual

    dispute between the parties will not defeat an otherwise

    properly     supported     motion    for      summary   judgment;     the

    requirement is that there be no genuine issue of material

    fact.” Anderson, 477 U.S. at 247–48.




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          In determining whether the moving party is entitled to

    judgment as a matter of law, the court must “resolve all

    ambiguities and draw all justifiable factual inferences in

    favor of the party against whom summary judgment is sought.”

    Major League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d

    290, 309 (2d Cir. 2008). Though a party opposing summary

    judgment may not “rely on mere conclusory allegations nor

    speculation,” D’Amico v. City of New York, 132 F.3d 145, 149

    (2d Cir. 1998), summary judgment is improper if any evidence

    in the record allows a reasonable inference to be drawn in

    favor of the opposing party, see Gummo v. Village of Depew,

    75 F.3d 98, 107 (2d Cir. 1996).

                                III. DISCUSSION

          This action requires the Court to assess a foundational

    question regarding corporate governance and cooperation with

    government     inquiries:     when    does    a   bank’s    cooperation

    transgress the bounds of appropriate assistance and fall into

    the realm of scapegoating? The Court is persuaded that here,

    Citi has not teetered over the edge of that precipice. The

    undisputed     evidence     shows     that     Citi’s    provision     of

    information was proper and not knowingly misleading,



                                                 . Accordingly, summary

    judgment for Citi is warranted.


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           As this Court stated at the motion to dismiss stage, the

    elements of a claim for malicious prosecution under New York

    law are “(1) the initiation of an action by the defendant

    against the plaintiff, (2) begun with malice, (3) without

    probable cause to believe it can succeed, (4) that ends in

    failure, or in other words, terminates in favor of the

    plaintiff.” Ramchandani I, 2021 WL 930627, at *6 (quoting

    Cornejo v. Bell, 592 F.3d 121, 129 (2d Cir. 2010) (quotation

    omitted)). It is undisputed that the jury’s acquittal of

    Ramchandani satisfies the fourth element. Thus, the Court

    focuses only on the first three.

           A.   INITIATION

           Citi argues that the record does not show it initiated

    the prosecution of Ramchandani. The Court previously held

    that    “[f]urnishing     false   information    to   law   enforcement

    authorities     is   sufficient”    to   establish    initiation.     Id.

    (collecting New York law). Accordingly, that interpretation

    is law of the case and will be applied here. See Ali v.

    Mukasey, 529 F.3d 478, 490 (2d Cir. 2008) (“The law of the

    case doctrine, while not binding, counsels a court against

    revisiting its prior rulings in subsequent stages of the same

    case absent ‘cogent’ and ‘compelling’ reasons such as ‘an

    intervening change of controlling law, the availability of




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    new evidence, or the need to correct a clear error or prevent

    manifest injustice.’”).

          To further clarify, for Citi, as a civilian, private

    defendant (i.e., not a law enforcement authority), “to be

    considered to have initiated the criminal proceeding, ‘it

    must be shown [by Ramchandani] that [Citi] played an active

    role in the [DOJ’s] prosecution, such as by giving advice and

    encouragement or importuning the authorities to act.’” Lupski

    v. County of Nassau, 32 A.D.3d 997, 998 (N.Y. App. Div. 2d

    Dep’t 2006) (citation omitted). The word “initiation” is a

    slight misnomer. To satisfy the element, there is no exacting

    temporal requirement. Rather, the record must show that Citi

    played an outsized role in guiding the DOJ’s hand towards a

    decision to prosecute Ramchandani. One way to satisfy that

    requirement is through the proffer of false information. But,

    “[m]erely giving false information to the authorities does

    not   constitute    initiation     of   the    proceeding    without     an

    additional    allegation     or   showing     that,   at   the   time   the

    information was provided, [Citi] knew it to be false, yet

    still gave it to the [DOJ].” Id. (citations omitted); see

    also Stampf v. Long Island R. Co., 761 F.3d 192, 199-200 (2d

    Cir. 2014) (“Giving information to the police that is known

    to be false qualifies as the commencement of prosecution.”);

    Bornschein v. Herman, 304 F. Supp. 3d 296, 302-03 (N.D.N.Y.


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    2018) (“[A] mistake does not support liability for malicious

    prosecution. . . .       [the    defendant     must     have]    provided

    evidence or testimony which he knew to be misleading or

    perjurious.”).

           Citi argues that the undisputed record shows that it was

    UBS, not Citi, that initiated the DOJ’s investigation into

    the FX Spot Market. Moreover,




           In resisting summary judgment, Ramchandani argues that

    Citi made material misrepresentations to the DOJ that it knew

    were   false.    Ramchandani’s     argument    is     premised   on   Citi

    identifying Ramchandani as a “wrongdoer” in both the press

    and in meetings with the DOJ, and on Feig’s decoding of the

    chat transcripts, which he contends were done “in a knowingly

    misleading manner.” (Opp. at 20.) Further, and in combination

    with its alleged knowingly false statements, because Citi

    agreed to plead guilty to only the conduct involving the

    EUR/USD currency pair, it effectively served Ramchandani on

    a platter for prosecution by the DOJ.


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           The undisputed record establishes that Citi did not

    “initiate” the prosecution of Ramchandani. To begin, it is

    undisputed     that   UBS’s      voluntary      self-reporting    is    what

    brought the EUR/USD Chatroom conduct to the DOJ’s attention.




                  (Citi 56.1 Stmt. ¶ 10.) Ramchandani’s deposition

    testimony corroborated this fact, stating that it was his

    “recollection”     that    “it    was    UBS”   which   had   brought    the

    Chatroom’s attention to the DOJ, not Citi. (Fishman Decl.,

    Ex. 6, 57:17-24.)

           Citi’s cooperation with the DOJ by decoding the chats

    does   not   establish     that     it      initiated   the   prosecution.

    Ramchandani argues that Feig, as “Citi’s chief ‘decoder’”

    “provided      knowingly       misleading        characterizations        of

    Ramchandani’s      chatroom      activities”      which   the    DOJ    then

    adopted, wholesale, to indict Ramchandani, without allowing

    Ramchandani to offer his own exculpatory decoding of the

    chats. (Opp. at 20.)

           Ramchandani    points      to     one    particular    chat,     from

    September 8, 2010, which he posits proves that Feig provided

    the DOJ with knowingly misleading information. Feig described

    that chat as showing Ramchandani coordinating with Usher to

    trade against another Citi trader, Simon Jones (“Jones”).


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    Feig testified to that interpretation. He said that Usher had

    asked Ramchandani “for the details of [Jones’s] position.

    [Ramchandani] gave it to [Usher] and made a comment that

    [Ramchandani] hoped that [Usher] would squash [Jones], [that]

    [Usher] would squash the Citi trader.” (Greenberg Decl., Ex.

    B, 58:21-25.) But, Ramchandani asserts that Feig knew this

    statement was false because Usher never traded to “squash”

    Jones. Further, Ramchandani presents an affidavit from Jones,

    which Jones says shows that Feig knew his description of this

    chat was false.10

          As Jones tells it, Feig had no problem with Ramchandani’s

    conduct. Feig talked to Jones and joked with him about a chat

    between Jones and Ramchandani, commenting “how funny he found

    the exchange as [Jones] was ‘so mad’ with [Ramchandani],” and

    that, at this point Feig was “not characterizing what occurred

    as being against Citi’s interests.” (Id. Ex. Q ¶ 23.) Then,

    after Ramchandani had been terminated, Feig reapproached

    Jones to tell him that Ramchandani’s chat with Usher about




                            
    10Citi objects to the inclusion of the Jones Affidavit as evidence because
    Ramchandani failed to identify Jones on his initial disclosures and seeks
    to have the affidavit struck pursuant to Federal Rules of Civil Procedure
    26(a)(1), (e), and 37(c). (See Reply at 10 n.13.) The Court acknowledges
    the validity of Citi’s objection but finds that the Jones Affidavit is
    largely irrelevant and does not support the proposition for which
    Ramchandani offers it. The Court is not persuaded that Citi would be
    prejudiced by the Court reviewing the Jones Affidavit as part of the
    summary judgment record.



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    Jones “was one of the reasons for Ramchandani’s termination.”

    (Id. ¶ 25-26.)

           The Jones Affidavit suffers from several flaws. First,

    Jones’s recounting of what Feig told him is hearsay and the

    record before the Court does not indicate whether Feig had

    been   deposed         on    this     conversation.          Cf.   Abdel-Karim      v.

    EgyptAir Airlines, 116 F. Supp. 3d 389, 409 (S.D.N.Y. 2015)

    (“A party ‘cannot rely on inadmissible hearsay in opposing a

    motion     for   summary        judgment . . .         absent      a   showing    that

    admissible evidence will be available at trial.”). While Feig

    could testify at trial to “shar[ing] a laugh over [the chat]”

    with Jones, the chat that Jones is describing is not the same

    chat   that      Feig       decoded    for   the      DOJ.    Rather,    the     Jones

    Affidavit establishes that the chat Feig found humorous was

    a   chat   between          Jones   and   Ramchandani,         where    Ramchandani

    chided Jones for his poor execution of the trade, not the

    chat between Ramchandani and Usher.

           It is clear from Jones’s retelling that Jones was not

    even   aware      of    the     Chatroom       chat    at     issue    until     after

    Ramchandani was terminated. (Greenberg Decl., Ex. Q ¶¶ 24

    (noting that at the time Ramchandani was suspended, Jones was

    “not aware that Citibank considered the [chat with Usher] to

    be an episode of any consequence”), 25-26 (explaining that

    after Ramchandani was terminated, Feig told Jones for the


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    first time about the chat with Usher and how “Ramchandani was

    in an external chatroom prior to [Jones’s] trade telling

    others to take advantage of me”).) Jones’s affidavit does not

    create a dispute of material fact as to whether Feig genuinely

    believed his interpretation of the chat between Ramchandani

    and Usher was correct at the time he decoded it to Citi’s

    lawyers. The record shows he believed his interpretations

    were accurate. (See, e.g., Greenberg Decl., Ex. B, 55:12-16.)

    Nor does it undermine Feig’s belief that the chat served as

    a basis for terminating Ramchandani. (Id. Ex. YY at 1.) Even

    Jones’s apparent shock with Feig’s actions in terminating

    Ramchandani says nothing about Feig’s views. More to the point

    though, while the chat between Ramchandani and Usher about

    Jones may have been a predicate for Ramchandani’s dismissal,

    the record shows that it was not the only chat that either

    Feig or the DOJ reviewed. And, critically, Feig’s decoding of

    the chat, as a matter of strict textual interpretation,

    appears accurate even if, in context, Usher did not trade

    against Jones.

          Either    way,    Feig’s   undisputed     testimony    tells    the

    opposite    story      from   Ramchandani’s.    When    asked    at   his

    deposition if he ever “mischaracterize[d] any of the chat

    room communications [he] w[as] reviewing,” Feig responded

    that he “did not mischaracterize certainly intentionally.”


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    (Greenberg Decl., Ex. B, 55:12-16.) And, much later on, in

    2019, Feig emailed Ramchandani and reiterated that “[f]rom

    everything I saw and heard there was rationale to dismiss

    you. However, as we agreed, I had never had the opportunity

    to hear you explain the chats.” (Id. Ex. YY at 1.) This

    testimony and evidence firmly establish that Feig, at the

    time, believed his interpretations were correct (even if

    Ramchandani did not) and thus did not knowingly provide false

    information to or knowingly mislead the DOJ.

          There is also no evidence in the record, other than

    Ramchandani’s     speculation,     that   Feig      had   the   motive   to

    provide false information to save his own skin. (See Opp. at

    4 (“Feig himself was at obvious risk of being sanctioned by

    Citi or law enforcement authorities. Therefore, Feig had a

    strong interest in blaming Ramchandani.”).) The deposition

    testimony     that   Ramchandani      cites    in    support     of   this

    proposition (id. (citing Greenberg Decl., Ex. B, 17:18-18:12;

    12:12-17)) does not indicate that Feig sought to sacrifice

    Ramchandani. Instead, it shows only an awareness by Feig that

    the Chatroom chats were recorded and could have been subject

    to compliance checks. Speculation alone does not raise a

    genuine dispute of material fact for purposes of summary

    judgment. See D’Amico v. City of New York, 132 F.3d 145, 149

    (2d Cit. 1998) (party opposing summary judgment may not “rely


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    on   mere    conclusory    allegations      nor    speculation”).     And

    further, in Feig’s 2019 email to Ramchandani, he disclaims

    any ill-intent, confirming to Ramchandani that he “didn’t

    think [Ramchandani] had committed any anti-trust violations

    nor did [he] think, as they [the DOJ] tried to convince [him],

    that [Ramchandani] had intent to commit anti trust [sic]

    violations.” (Greenberg Decl., Ex. YY at 1.) The evidence

    thus shows that at that time Feig was on Ramchandani’s side.

          Ramchandani also points to the fact that Feig and others

    at Citi labeled Ramchandani a “wrongdoer” to the DOJ. In

    making      this   argument,    Ramchandani       gloms   together    two

    different types of wrongdoing: (1) wrongdoing that violated

    Citi’s internal policies; and (2) criminal wrongdoing. The

    record establishes, however, that

                                                                   . Time and

    again, Citi



                                                               .

          The stipulation entered between Ramchandani (signed by

    his attorneys at WilmerHale) and the Office of the Comptroller

    of the Currency (“OCC”)

                                                                         (See

    generally Fishman Decl., Ex. 17.) For example, at a meeting

    on June 11, 2014, between Cleary and the DOJ,


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                               (Id. at 2.) Further,




                                                  (Id. at 4.)




                           (Id. at 10.)




                                                                   (Id.)




                            (Id. at 11.)




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          At another meeting on November 12, 2014




    (Id. at 12.)




                         (Id.)



                                                           (Id.) Citi then

    explained



                    (Id.) To the extent that New York law requires

    Ramchandani     to   establish    that   Citi   induced    the   DOJ   to

    prosecute -- see Lupski, 32 A.D.3d at 998 (“The defendant

    must have affirmatively induced the officer to act, such as

    taking an active part in the arrest and procuring it to be

    made or showing active, officious and undue zeal, to the point

    where the officer is not acting of his own volition.”) --




                           (Fishman Decl., Ex. 17 at 13.)


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                                                   , at the March 9, 2015

    meeting with the DOJ,




                                                              (Id. at 18.)




                                                               (Id.)




                                              (Fishman Decl., Ex. 16 at

    GOV0070, 0072.)



                                                                    (Fishman

    Decl., Ex. 15 at GOV0064.)

          And insofar as Ramchandani contends that Citi singled

    him out as the sole wrongdoer, that conclusion also is belied

    by the undisputed evidence in the record. Indeed, the Court

    noted that it was a close call at the motion to dismiss stage

    as   to   whether   Citi’s    plea    agreement   with    the   DOJ   and

    sentencing memorandum, referencing “one of its traders” and


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    “one Citi employee . . . based in London,” was sufficient to

    establish the initiation prong. See Ramchandani I, 2021 WL

    930627, at *7. But the undisputed evidence now on a fuller

    evidentiary record shows




                            (Fishman Decl., Ex. 17 at 19.)

           Ramchandani does not raise a dispute of material fact

    sufficient to overcome Citi’s Motion that the DOJ (not Citi)

    was the party primarily focused on the EUR/USD Chatroom and

    thus   on     Ramchandani.




                                                    (Id. at 23.) Citi did,

    eventually, plead guilty to conduct originating from the

    EUR/USD Chatroom.



           That    Citi    pled   guilty    based    on   only    Ramchandani’s

    conduct, agreed to focus on the EUR/USD currency pair, and

    cooperated      with    respect    to       Ramchandani      does   not,   as

    Ramchandani posits, establish a sinister motive. Rather, the


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    evidence of the negotiations leading up to Citi’s entry into

    the   Plea   Agreement       establishes         that    it    was      “carefully

    negotiated . . . so          as    to    limit    [Citi’s]     admissions       to

    narrowly specified conduct.” Kaplan v. S.A.C. Cap. Advisors,

    L.P., 104 F. Supp. 3d 384, 391 (S.D.N.Y. 2015) (VM). Further,

    it is this Court’s experience that, in reaching a plea deal,

    defendants often home in on the conduct for which they believe

    they are least culpable. And that is what Citi apparently

    thought as to the EUR/USD currency pair and Chatroom. So, in

    contrast to Ramchandani’s position that Citi sought to make

    him the scapegoat, the undisputed evidence shows that, to the

    extent that Citi (not the DOJ) affirmatively sought to focus

    on the EUR/USD currency pair, it was because Citi believed no

    crime based on Ramchandani’s conduct had occurred, and that

    it was best positioned to protect its and Ramchandani’s

    interests    by   reaching        a     non-criminal     resolution        to   the

    conduct. And, in doing so, Citi would commit to helping the

    DOJ   prosecute     other         individuals,        including        Christopher

    Cummins (“Cummins”), a former Citi FX trader focused on

    currencies from Central and Eastern Europe, the Middle East,

    and   Africa,     and   who       would       plead   guilty      to     antitrust

    violations. (See Greenberg Decl., Ex. BB.)11


                             
    11 Cummins reached a plea deal with the DOJ and was sentenced to time
    served, two years supervised release, and a $20,000 fine. See Judgment in


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           Ramchandani also points to a statement by a Cleary

    lawyer, Mark Nelson, appearing in an affidavit from one of

    Ramchandani’s criminal defense lawyers, Thomas Mueller. In

    that affidavit, Mueller says that Nelson told him “that

    Ramchandani     was    ‘collateral       damage’   from     Citi’s   plea

    agreement.” (Greenberg Decl., Ex. PP ¶ 7.) Ramchandani says

    that this was an admission that “Citi had agreed to a charge

    based upon false claims of criminal conduct by Ramchandani.”

    (Opp. at 14.) To the extent that this statement is admissible,

    Ramchandani fails to show how this establishes a genuine issue

    of material fact as to the initiation element. It is clear

    from                , and corroborated by Nelson, that



                                             (See Greenberg Decl., Ex. PP

    ¶ 8 (“Nelson reiterated that there was no basis for bringing

    per se price fixing charge under the Sherman Act against Citi

    arising out of Ramchandani’s conduct.”).)




                                  The Court is aware of no binding

    precedent    (and     Ramchandani   cites    none)   that    suggests      a

                             
    a Criminal Case, United States v. Cummins, No. 17 Cr. 00026 (S.D.N.Y.
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    individuals through which these corporations act.” (Greenberg

    Decl., Ex. LL at 2 (quoting Sally Q. Yates, Deputy Att’y Gen.,

    Dep’t of Justice, Remarks at NYU School of Law Announcing New

    Policy    on    Individual     Liability   in   Matters   of   Corporate

    Wrongdoing (Sept. 10, 2015)).)




                   Cf. Lupski, 32 A.D.3d at 998 (“[I]t must be shown

    that defendant played an active role in the prosecution, such

    as   giving     advice   and    encouragement    or   importuning     the

    authorities to act.”) (citation omitted).




    Ramchandani’s theory here fails to mount the “heavy burden

    [placed] on malicious prosecution plaintiffs.” Smith-Hunter

    v. Harvey, 734 N.E.2d 750, 752 (N.Y. 2000).

          Ramchandani offers another premise. He plots a theory

    that Citi’s PR strategy to identify him as a “wrongdoer” in

    the media raises a genuine dispute of material fact on the

    initiation prong. Ramchandani fails to connect his dots. He


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    does not explain how giving information to the media is the

    same    as     giving    false    information     to     law    enforcement

    authorities. And while Ramchandani argues that this strategy

    was part of an “early plan formulated by Citi and its counsel

    to focus the FX investigation on Ramchandani,” the only

    evidence Ramchandani can muster in support of this contention

    consists of email subject lines from “hundreds of emails in

    2013, withheld on privilege grounds, specifically dealing

    with Citi’s investigations of Ramchandani and P.R. strategy.”

    (Opp. at 3.)

           While    the    Court    must   draw   reasonable    inferences     in

    Ramchandani’s favor as the non-movant, Ramchandani’s request

    here seeks something different and unjustifiable. He invites

    the Court to draw a negative inference from Citi’s invocation

    of the attorney-client privilege -- one which the Court has

    already deemed was proper. See generally Ramchandani, 2022 WL

    2156225 (denying Ramchandani’s motion to compel disclosure of

    documents      withheld    on    privilege     grounds     between      Citi’s

    attorneys and public relations team). The Court must decline

    Ramchandani’s invitation. Courts should not draw negative

    inferences from a party’s application of the attorney-client

    privilege      to     withhold    discovery.     Doing     so   would     have

    “seriously harmful consequences” to the purpose underlying

    the privilege, discouraging the open exchange of information


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    and advice between clients and their attorneys. Nabisco, Inc.

    v.   PF    Brands,   Inc.,   191   F.3d   208,   226   (2d   Cir.   1999),

    abrogated on other grounds by Moseley v. V Secret Catalogue,

    Inc., 537 U.S. 418 (2003) (“We know of no precedent supporting

    such a[ negative] inference based on the invocation of the

    attorney-client privilege. This privilege is designed to

    encourage persons to seek legal advice, and lawyers to give

    candid advice, all without adverse effect.”); see also In re:

    Gen. Motors LLC Ignition Switch Litig., No. 14-MD-2543, 2015

    WL 8130449, at *3 (S.D.N.Y. Dec. 3, 2015) (party could not

    “invoke [] privilege assertions in this MDL to encourage the

    jury to draw an adverse inference from those assertions”).

           Even more critically, none of Ramchandani’s evidence

    establishes that Citi’s PR team labeled him a wrongdoer, let

    alone a criminal wrongdoer, in the press. The emails offered

    merely show that Citi confirmed it had taken employment action

    with respect to Ramchandani.

           None of Ramchandani’s evidence or arguments raise a

    sufficient dispute of material fact. Thus, Citi is entitled

    to summary judgment in its favor as to the initiation prong

    of Ramchandani’s malicious prosecution claim.

           B.     PROBABLE CAUSE

           Ramchandani also fails to raise a dispute of material

    fact      on   the   probable   cause     element   of   his   malicious


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    prosecution claim. From the start, Ramchandani had a large

    hurdle to jump: “[o]nce a suspect has been indicted . . . the

    law holds that the Grand Jury action creates a presumption of

    probable cause.” Rothstein v. Carriere, 373 F.3d 275, 282-83

    (2d Cir. 2004) (quoting Colon v. City of New York, 455 N.E.2d

    1248, 1250 (N.Y. 1983)). This presumption “is founded on the

    premise that the Grand Jury acts judicially and it may be

    presumed it has acted regularly.” Colon, 455 N.E.2d at 1250.

    To scale this hurdle, Ramchandani needed to raise a dispute

    of genuine material fact by “evidence establishing that the

    police witnesses [(here, Citi)] have not made a complete and

    full statement of facts either to the Grand Jury or to the

    District Attorney, that they have misrepresented or falsified

    evidence, [or] that they have withheld evidence or otherwise

    acted in bad faith.” Id. at 1250-51 (collecting cases). In

    other words, once indicted, Ramchandani “must establish that

    the    indictment     was   produced     by    fraud,    perjury,     the

    suppression of evidence or other police conduct undertaken in

    bad faith.” Id. at 1251; see also Richards v. City of New

    York, No. 97 Civ. 7990, 2003 WL 21036365, at *14 (S.D.N.Y.

    May 7, 2003) (“New York law thus strips an indictment of its

    presumptive force in a malicious prosecution action when the

    indictment was obtained through improper means.”).




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          Ramchandani     cannot   make,    and    has   not   made,    such   a

    showing. Ramchandani bases his argument largely on the same

    facts underlying his initiation claim, that Citi provided

    knowingly false information (mainly Feig’s decoding of the

    chats) to the DOJ, which then adopted Citi’s interpretations

    and repeated them to the grand jury. Ramchandani again points

    to the fact that no one from Citi believed that Ramchandani

    had committed a crime as proof that Citi representatives knew

    what they communicated to the DOJ was false. (See Opp. at

    23.) Essentially, Ramchandani contends that Citi’s false

    decoding of the chats tainted the DOJ’s presentation to the

    grand jury.

          At the motion to dismiss stage, the Court allowed the

    claims to proceed based on the plausibility of Ramchandani’s

    allegations.      Those    allegations        were   (1)    that     “Citi

    mischaracterized his chatroom communications and told the DOJ

    he was criminally liable for price-fixing based on those

    communications”; and (2) “[t]hat the DOJ could not decode the

    chats without Citi’s assistance,” making it plausible “that

    the   indictment     was    ‘procured’     based     on    Citi’s    false

    statements.” Ramchandani I, 2021 WL 930627, at *9.

          The fuller, undisputed evidentiary record now shows that

    those allegations were unsupported. As previously discussed,

    there is no evidence that Citi mischaracterized the chatroom


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    communications.      Feig    explicitly    disclaimed     any    knowing

    mischaracterization of his decoding, and the DOJ’s notes

    emphasized their disagreement with Citi’s interpretations.

    (See, e.g., Fishman Decl., Ex. 16 at GOV0070



                                         , GOV0071



                        , GOV0072




                                                             ; see also id.

    Ex. 3 (Syme Dep.) 78:3-11




                         .)




          The allegation that Citi told the DOJ that Ramchandani

    is criminally liable is also without support. As detailed at

    length above,




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          Finally, while Feig assisted the DOJ in decoding the

    chats, he was not the only one who did so.




                           The DOJ was assisted by the three other

    banks that pled guilty to the FX conduct, each of which

    “explain[ed] how the FX Spot Market operates, and [] defin[ed]

    and decod[ed] certain jargon traders’ use when describing

    their actions in the market, sometimes via a line-by-line

    review    of   chat   transcripts.”      (Citi    56.1   Stmt.    ¶ 45.)

    Ramchandani     admits    this    fact    without    objection.     (See

    Ramchandani 56.1 CS, Response to ¶ 45 (“Admitted.”).)




          Further, even if it was sufficient under New York law

    for the mere transmission of false facts to a prosecutor to


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    overcome    the     presumption        of    probable    cause,     the   Second

    Circuit has clarified that once the grand jury has indicted,

    Ramchandani       was    “required      to    rebut   that     presumption    by

    proving fraud, perjury, suppression of evidence or other

    misconduct in the grand jury.” Rothstein, 373 F.3d at 283

    (finding error in the district court’s decision that, “[i]f

    in fact a person tells the police so and so is guilty of a

    felony and he maliciously lies about that, it doesn’t matter

    what goes on before the grand jury” because the “cause of

    action is for malicious prosecution, not for maliciously

    making false statements to law enforcement authorities”). If

    Citi’s    decoding       of   the    Chatroom     chats      were   false    and

    misleading (and it is not), it remains undisputed




                                                             Indeed, three other

    banks provided their own interpretations of the chats to the

    DOJ.

           Ramchandani also conceded at his deposition that his

    claims are not based upon misconduct or fraud before the grand

    jury. (See Citi 56.1 Stmt. ¶ 77.) To survive summary judgment

    on this element, Ramchandani needed to make a showing of fraud

    or     misconduct       before   the    grand     jury    to    overcome     the


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    presumption of probable cause. “His failure even to attempt

    to   make   that    showing    requires       dismissal       of    his   claim.”

    Rothstein, 373 F.3d at 283.

          C.    MALICE

          Ramchandani also fails to create a genuine dispute of

    material fact as to the malice standard. He bases his claim

    on much of the same arguments detailed above: Citi’s supposed

    “improper motive” in agreeing to plead guilty to only the

    EUR/USD Chatroom conduct to the detriment of Ramchandani

    alone. (See Opp. at 24-25.) But as discussed above, the

    evidence does not support the notion that Citi’s motive was

    improper.    And    Citi    did     not     single    out    Ramchandani.        As

    previously    noted,       Citi’s    plea     agreement      required       it   to

    cooperate with the DOJ regarding several other individuals

    involved    in     other    currency      pairs      and    other    chatrooms,

    including Cummins, and Citi took employment action on 17

    traders.

          Moreover, Citi assisted Ramchandani in his defense. Citi

    provided Ramchandani with individual counsel and entered into

    a joint defense agreement with them to facilitate information

    sharing.     The    undisputed       record       also      shows    that




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           Nor does the evidence show that Citi orchestrated a PR

    strategy to scapegoat Ramchandani. The emails produced on

    this topic, not subject to privilege, show that it was the

    reporters, not Citi’s PR personnel, who went beyond the scope

    of    Citi’s       confirmation     that     Ramchandani       was    no    longer

    employed by the bank. (Compare Greenberg Decl., Ex. L at 1

    (“[Feig] told Ramchandani that we would not be telling press

    he was fired, that we would be confirming he’s no longer with

    the company.”), with Ex. X (“I said he no longer works here

    and told them to use the word “confirmed.”).) None of the

    emails    between      Citi’s     PR    team    show    that    Citi       labeled

    Ramchandani as a criminal wrongdoer in the press. (See Id.

    Exs. L, M, N, W, & X.) And, as noted above, the Court will

    not   draw     a    negative   inference       from    the    other   documents

    withheld for privilege. Accordingly, Citi is entitled to

    summary judgment on the malice element, too.

                                           * * * * *

           As previewed earlier, Ramchandani’s position raises a

    complicated        policy   issue      regarding      the    boundary      between

    cooperation         with    regulatory         investigations         and     the

    identification, whether malicious or not, of the individuals

    through whom corporations act. Ramchandani seeks to hold

    accountable a corporation he believes went outside of the

    bounds of acceptable assistance, sought to deflect its own


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    potential      culpability,       and    attempted    to   pin    the   blame

    entirely on him. There certainly could be circumstances where

    such a threshold is crossed. This case is not one of them.

            Just   as   courts      should    seek   to   protect     individual

    whistleblowers who call out corporate malfeasance, so too

    should they be wary to fashion a rule that may discourage

    corporations from self-disclosing and actively cooperating

    with the government to root out wrong-doing and wrong-doers.

    The undisputed record here shows that Citi toed that line

    appropriately       and    so   Ramchandani’s     malicious      prosecution

    claim     fails.    Citi     is   accordingly     entitled       to   summary

    judgment.

                                      IV. ORDER

            For the reasons stated above, it is hereby

            ORDERED that the motion (Dkt. No. 144) pursuant to Rule

    56 of the Federal Rules of Civil Procedure by defendants

    CitiBank National Association, CitiGroup Inc., and Citicorp

    (together, “Citi”) for summary judgment and dismissal with

    prejudice of the complaint (Dkt. No. 1) brought by plaintiff

    Rohan Ramchandani (“Ramchandani”) is GRANTED. The case is

    DISMISSED. The Clerk of the Court is respectfully directed to

    terminate the motion pending at Dkt. No. 144 and to close the

    case.




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          In accord with the Court’s previous orders regarding the

    sealing    of   the   confidential      information   in   the   summary

    judgment record, see Note 1 above, the Clerk of Court is also

    respectfully directed to file this Decision and Order (“D&O”

    or “Order”) under seal, restricting viewing levels to only

    Ramchandani, Citi, and the Court. The parties are directed to

    jointly submit proposed redactions to the D&O within seven

    (7) days of the date of the Order.



    SO ORDERED.

    Dated:      19 July 2023
                New York, New York
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